                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


JANE DOE,

                       Plaintiff,

v.                                                            Civil Action No. 3:18-cv-00041

PAMELA SUTTON-WALLACE,
DR. SCOTT A. SYVERUD,
DR. KATHLEEN ROOT,
ADAM CARTER,
CALLIE BATEMAN,
JANE ROE 1-3 and
JOHN DOE 1-5,
                 Defendants.

                       DEFENDANT DR. SCOTT A. SYVERUD’S
              FRCP 12(c) MOTION FOR JUDGMENT ON THE PLEADINGS

       Defendant, Dr. Scott A. Syverud (Dr. Syverud), by counsel, hereby moves for judgment

on the pleadings pursuant to Federal Rule of Civil Procedure 12(c). Dr. Syverud asserts that he is

entitled to qualified immunity with respect to Ms. Doe’s 42 U.S.C. § 1983 claims; that Ms. Doe

has failed to demonstrate that Dr. Syverud acted under color of state law; that Ms. Doe’s state law

claims fail to state a claim, and Dr. Syverud’s conduct is legally justified or excused; and that Ms.

Doe’s attempted suicide bars her federal and state law claims.

       WHEREFORE, for the reasons set forth in his Brief in Support, Dr. Syverud, by counsel,

respectfully requests that the Court grant his Motion, enter judgment in his favor and dismissing

Ms. Doe’s Complaint against him, and grant such other relief as the Court deems appropriate.



                                                     Respectfully submitted,

                                                     DR. SCOTT A. SYVERUD




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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 1, 2019 I electronically filed the foregoing

DEFENDANT DR. SCOTT A. SYVERUD’S FRCP 12(c) MOTION FOR JUDGMENT ON THE

PLEADINGS with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the following CM/ECF participants:



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